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6
7
                                  UNITED STATES DISTRICT COURT
8
                                  EASTERN DISTRICT OF CALIFORNIA
9
      UNITED STATES OF AMERICA,              )   No. 2:19-cr-00003-JAM
10                                           )
                     Plaintiff,              )   ORDER TO EXTEND SELF-SURRENDER
11                                           )   DATE TO MAY 17, 2021
             v.                              )
12                                           )
      LUIS VALERIO MARTINEZ,                 )   JUDGE: Hon. John A. Mendez
13                                           )
                    Defendants.              )
14                                           )
                                             )
15
16          IT IS HEREBY ORDERED that the Motion to Extend Self-Surrender Date as to Luis
17   Valerio Martinez is GRANTED. Mr. Valerio Martinez shall surrender to the institution
18   designated by the Bureau of Prisons, or if no such institution has been designated, to the United
19   States Marshal in Sacramento, CA before 2:00 p.m. on May 17, 2021.
20
21   DATED: December 11, 2020                      /s/ John A. Mendez
22                                                 THE HONORABLE JOHN A. MENDEZ
                                                   UNITED STATES DISTRICT COURT JUDGE
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